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                            Exhibit A

PO Number
 6335458
 6335458
 7014064
 7014064
 7014064
 7014064
 7015598
 7015598
 7015598
 7167318
 7171685
 7171685
 7171685
 7171685
 7175698
 7175698
 7218944
 7218966
 7248678
 7252987
 7297276
 7297276
 7325020
 7325810
 7332514
 7332514
 7332634
 7332647
 7332666
 7338343
 7339675
 7339675
 7344866
 7344866
 7349452
 7356217
 7362942
 7363074
 7363074
 7363074
 7363074
 7363074
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PO Number
 7363098
 7363098
 7363098
 7366105
 7367687
 7376520
 7378747
 7378753
 7386204
 7402930
 7420986
 7422616
 7422616
 7422656
 7423388
 7432251
 7432257
 7433002
 7433002
 7436863
 7442269
 7445309
 7447933
 7450607
 7450611
 7451301
 7451301
 7451728
 7452149
 7455343
 7455774
 7455774
 7455787
 7467100
 7470209
 7470209
 7473318
 7476624
 7477251
 7477251
 7477257
 7477257
 7477381



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PO Number
 7481684
 7487617
 7487617
 7490541
 7491528
 7496046
 7496410
 7496410
 7498064
 7498064
 7499957
 7500665
 7501330
 7501345
 7503450
 7503961
 7506843
 7506843
 7510115
 7510770
 7510770
 7510770
 7510770
 7510894
 7511119
 7512447
 7514700
 7518307
 7519195
 7519195




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